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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

BRYANNA KULP,                             : Civ. No. 1:22-CV-1818
                                          :
       Plaintiff,                         :
                                          :
             v.                           :
                                          : (Chief Magistrate Judge Bloom)
NORFOLK SOUTHERN RAILWAY                  :
COMPANY,                                  :
                                          :
       Defendant.                         :

                         MEMORANDUM OPINION

  I.      Introduction

       This case comes before us for consideration of a summary judgment

motion filed by the defendant, Norfolk Southern Railway Company

(“Norfolk Southern”). (Doc. 39). The plaintiff, Bryanna Kulp, was an

employee of Norfolk Southern as a Track Laborer. (Doc. 1-2 at 8). Kulp

brought this action, alleging that she was subjected to sexual harassment

and a hostile work environment in violation of Title VII of the Civil Rights

Act of 1964 and the Pennsylvania Human Relations Act (“PHRA”). (Doc.

1-2 at 7). Kulp contends that her supervisors engaged in conduct that

amounted to sexual harassment that ultimately led her to resign her

position.
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        Norfolk Southern now moves for summary judgment, arguing that

Kulp cannot satisfy the elements of a hostile work environment claim.

(Doc. 40). After consideration, we agree and will grant the motion for

summary judgment.

  II.      Background

        In January 2015, the plaintiff, Bryanna Kulp, was hired as a Track

Laborer at Norfolk Southern. (Doc. 1-2 at 8). During her six years with

Norfolk Southern, she worked in various positions, including being a

Welder, a Vehicle Operator, and a Machine Operator. (Doc. 43 at 4). As

one of the only female employees in her shop, Kulp was given a key to a

designated female restroom. (Doc. 41-5 at 32). However, Kulp alleges that

male employees were using “her” restroom. (Doc. 1-2 at 9). The female

restroom was only accessible by key and on occasion, supervisors would

let male employees into the restroom. (Doc. 41-13 at 5). However, Kulp

never had any encounters with men in the restroom. (Do. 43 at 19).

        About a year into Kulp’s employment, a coworker sent her an

unsolicited provocative photograph. (Doc. 43 at 5). Although Kulp did not

make a complaint, the then-Division Engineer became aware she

received the photograph and let her know he understood that she did not


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make a report because she was a newer employee. (Doc. 43 at 5-6). Kulp

alleges no further incidents until August 2020, when she a took a day off

work for a sore throat. (Doc. 1-2 at 8). Kulp alleges that her supervisor,

Dylan Wetzel, sexually harassed her when he laughed and told her, “I

betcha I can tell you why your throat was sore.” (Doc. 1-2 at 8). A year

later, in June 2021, Kulp alleges that Joe Spadone asked Kulp what she

was doing “down in the woods” with her male coworker. (Doc. 43-2 at 3).

Around this same time, Kulp alleges that Wetzel set her up to fail when

he asked her to perform a duty that she was not trained to do and did not

have machine rights to operate the equipment. (Doc. 1-2 at 9). Kulp also

alleges that her coworkers put grease on the door handle of her work

truck to objectify and degrade her. (Doc. 42 at 6). Finally, in September

2021, Kulp alleges that Wetzel sexually harassed her when she was in

his office waiting for him and when he arrived allegedly asked her if she

had been “sniffing his seat.” (Doc. 1-2 at 8-9).

     To appropriately address all workplace complaints, Norfolk

Southern has an anti-harassment policy and reporting procedure that

strictly prohibits all types of workplace harassment. (Doc. 41-2 at 2).

Employees are educated and trained on these policies and are aware that


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it is their obligation to report harassment, as the policy directs employees

to   report   any   harassment    or   retaliation   to   “their   immediate

nonagreement supervisor or the Corporation’s EEO office.” (Doc. 41-2, at

3; 43 at 4-5). The policy informs employees of the investigative process

and any corrective action that can be taken for claims the Corporation

deems to have merit, including verbal, written, or final warnings,

demotion, transfer, and termination. (Doc. 41-2 at 3).

      At the end of October 2021, Kulp sent an email to Senior EEO

Officer, Susan Decker, informing her of the allegations referenced in the

complaint. (Doc. 1-2 at 9). Hours later, Decker responded indicating she

would begin an investigation into Kulp’s complaints. (Doc. 41-5 at 22).

As part of the investigation, Kulp met with Brent Emerson in November

2021. (Doc. 1-2 at 9). During the meeting, Emerson asked Kulp how she

talked to her male coworkers. (Doc. 1-2 at 9). While Kulp stated this made

her feel responsible for the inappropriate comments, Kulp admitted that

she used inappropriate language with her coworkers. (Doc. 41-13 at 7).

Further, Kulp testified in her deposition that she never felt emotionally

or physically unsafe at work. (Doc. 41-5 at 39).




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     The    investigation     revealed   that     Wetzel’s       comments        were

unsubstantiated, but all managers were coached on respectful and

professional behavior. (Doc. 41-4 at 11). Further, Norfolk Southern could

not substantiate that Wetzel “set [Kulp] up to fail” in directing her to

operate the machinery. (Doc. 41-4 at 20; Doc. 41 at 12). While

investigating Spadone’s comment, Spadone admitted he made a joke,

admitted it was inappropriate, was issued a letter of counseling, and was

admonished to maintain professionalism within the workplace. (Id.).

While Kulp asserted that there was grease on the handle of a truck, one

of her coworkers took responsibility and explained that it was intended

for the worker that would’ve been driving the truck that day, not Kulp.

(Doc. 41-13 at 5).

     After meeting with Emerson to discuss her complaints, Kulp called

him to say that she did not want to work for Norfolk Southern under the

current conditions. (Doc. 41-5 at 43). Emerson sent an email to Norfolk

Southern Human Relations, Decker, and Ennis, notifying them of Kulp’s

verbal resignation. (Doc. 43 at 21-22). Decker informed Kulp that one of

her allegations was substantiated, and Spadone would be disciplined

accordingly. (Doc. 41-4 at 12). Kulp did not return to work, despite being


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scheduled. (Doc. 43 at 20). Emerson continued investigating Kulp’s

claims, but Kulp told Decker and Emerson that she contacted an attorney

and refused to participate further in the investigation. (Id. at 22).

     Kulp filed this action in the Court of Common Pleas of Dauphin

County, and Norfolk Southern removed the matter to this court. (Doc. 1).

Kulp’s complaint alleges that she was subjected to a hostile work

environment in violation of Title VII and the PHRA. (Doc. 1-2). Norfolk

Southern has now filed a motion for summary judgment, arguing that

there is no genuine issue of material fact with respect to the claim against

the company. (Doc. 39). Specifically, Norfolk Southern argues that Kulp

has not established the elements of a hostile work environment claim,

and alternatively, it is entitled to the Faragher-Ellerth defense. (Doc. 40).

     After consideration, we conclude that there is no evidence in the

record to create a genuine issue of material fact with respect to Kulp’s

claim. Accordingly, we will grant the defendant’s motion for summary

judgment.




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  III.    Discussion

         A. Motion for Summary Judgment – Standard of Review

     The defendant has filed a motion for summary judgment pursuant

to Federal Rule of Civil Procedure 56. Rule 56(a) provides that a court

shall grant summary judgment “if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). The materiality of

the facts will depend on the substantive law. Anderson v. Liberty Lobby,

477 U.S. 242, 248 (1986). Thus, “[o]nly disputes over facts that might

affect the outcome of the suit under governing law” will preclude

summary judgment. Id. A dispute is only genuine if a reasonable juror

could find in favor of the nonmoving party. Id.

     The moving party bears the initial burden to “demonstrate the

absence of a genuine issue of material fact,” relying on pleadings,

depositions, affidavits, and other evidence in the record. Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986). If the movant “successfully points to

evidence of all of the facts needed to decide the case on the law,” the

nonmovant can still defeat summary judgment by pointing to evidence in

the record which creates a genuine dispute of material fact and from


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which a jury could find in its favor. El v. Southeastern Pennsylvania

Transp. Auth. (SEPTA), 479 F.3d 232, 238 (3d Cir. 2007). However, “[i]f

the evidence is merely colorable, or is not significantly probative,

summary judgment may be granted.” Anderson, 477 U.S. at 249-50

(citations omitted). A court may not make credibility determinations or

weigh the evidence, but “must view the facts in the light most favorable

to the non-moving party.” Hugh v. Butler County Family YMCA, 418

F.3d 265, 267 (3d Cir. 2005).

         B. The Defendant’s Motion for Summary Judgment will be
            Granted.

        Kulp asserts a hostile work environment claim under Title VII and

the PHRA, alleging that her supervisors subjected her to sexual

harassment.1 After a review of the record, we conclude that there is no

genuine issue of material fact with respect to these claims.

        Title VII prohibits employers from discriminating against and/or

discharging their employees because of their sex. 42 U.S.C. § 2000e-




1 The  Third Circuit has held that “the PHRA is to be interpreted as
identical to federal anti-discrimination laws except where there is
something specifically different. . . .” Fogleman v. Mercy Hospital, 283
F.3d 561, 567 (3d Cir. 2002) (citation omitted). Accordingly, we will
analyze Kulp’s PHRA claim in conjunction with the Title VII claim.
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2(a)(1). A plaintiff can establish a Title VII violation through proving that

discrimination based on sex created a hostile or abusive work

environment. Meritor Savings Bank, FSB v. Vinson, 477 U.S. 57, 66

(1986).

     To prevail on a hostile work environment claim, a plaintiff must

show that “1) the employee suffered intentional discrimination because

of his/her sex, 2) the discrimination was severe or pervasive, 3) the

discrimination detrimentally affected the plaintiff, 4) the discrimination

would detrimentally affect a reasonable person in like circumstances,

and 5) the existence of respondeat superior liability.” Mandel v. M7Q

Packaging Corp., 706 F.3d 157, 167 (3d Cir. 2013). A hostile work

environment is judged by an objective standard, requiring a reasonable

person to find that the environment is hostile. Harris v. Forklift Sys. Inc.,

510 U.S. 17, 21 (1993). In determining a hostile work environment, courts

look at the totality of the circumstances, including: “the frequency of the

discriminatory conduct, its severity; whether it is physically threatening

or humiliating, or a mere offensive utterance, and whether it

unreasonably interferes with an employee’s work performance.”




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Castleberry v. STI Grp., 863 F.3d 259, 264 (3d Cir. 2017) (quoting Harris,

510 U.S. at 22).

     Regarding Kulp’s assertion that her supervisors intentionally

discriminated against her based on her sex, we conclude a reasonable

juror could find the comments amount to intentional sex-based

discrimination. To show intentional discrimination based on sex, the

plaintiff must demonstrate that gender is a substantial factor in the

discrimination, and that if she had been a man, she would not have been

treated the same. Tomkins v. Public Serv. Elec. & Gas Co. 568 F.2d 1044,

1047 (3d Cir. 1977). “Courts and juries have found the inference of

discrimination easy to draw in most male-female sexual harassment

situations because…it is reasonable to assume those proposals would not

have been made to someone of the same sex.” Oncale v. Sundowner

Offshore Servs., 523 U.S. 75, 80 (1998).

     Here, Kulp alleges intentional discrimination based on comments

made by Dylan Wetzel regarding her sore throat and sniffing his seat, as

well as the comment made by Joe Spadone about her being in the woods

with a male coworker. We conclude that a reasonable juror could find

that her supervisors made these sexually charged comments because


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Kulp is a woman. See e.g., Stewart v. Weis Mkts., 890 F. Supp. 382, 390

(M.D. Pa. 1995) (finding intentional discrimination when sexually-

related epithets and insults were directed at a woman that were not

directed at a man); Moore v. Grove North America, Inc., 927 F. Supp. 824,

830 (M.D. Pa. 1996) (finding no intentional discrimination where no

sexual innuendos nor gender-related language were used). Accordingly,

a factfinder could conclude that Kulp suffered intentional discrimination

based on her sex.

     Although we have concluded that Kulp can likely show she was

subjected to intentional, sex-based discriminatory comments, she has

failed to show that the discrimination was severe or pervasive and that

it detrimentally affected her. For harassment to be actionable, it must be

so severe or pervasive as to “alter the conditions of [the victim’s]

employment and create an abusive working environment.” Meritor, 477

U.S. at 7. Conduct that does not create an objectively hostile or abusive

work environment is beyond Title VII’s purview. Jensen v. Potter, 435

F.3d 444, 449 (3d Cir. 2006). Isolated incidents do not amount to

harassment. Id. Additionally, “[t]he mere utterance of an epithet which

engenders offensive feelings in an employee does not sufficiently affect


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the conditions of employment to implicate Title VII.” See Meritor, 477

U.S. at 91. Further, if the victim does not subjectively perceive the

environment to be abusive, the conduct has not altered their

employment, and there is no violation. Id.

     Here, we cannot conclude that three arguably sexually suggestive

comments made over the course of 15 months amount to severe or

pervasive conduct in violation of Title VII. See e.g., Nitkin v. Main Line

Health, 67 F. 4th 565, 571 (3d Cir. 2023) (discussing that one or two

statements in a six-month period did not amount to severe or pervasive

harassment). While these comments may have been sexually suggestive

and offensive, they do not reach the level that this Circuit has found to

be severe or pervasive. See, e.g., Starnes v. Butler, 971 F.3d 416, 428 (3d

Cir. 2020) (finding the conduct was severe or pervasive when the

supervisor “coerced [plaintiff] into engaging in sexual relations, shared

pornography with her, asked her to film herself performing sexual acts,

engaged in a pattern of flirtatious behavior, scolded her for speaking with

male colleagues, [and] assigned her duties forcing her to be close to

him”); Moody v. Atl. City Bd. of Educ., 870 F.3d 206, 215 (3d Cir.

2017) (finding a reasonable juror could view conduct was severe or


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pervasive when the employer repeatedly propositioning plaintiff,

“grabbed her,” exposed himself to her, and “attempted to take her shirt

off”).

         Further, Kulp has not presented evidence to show that any of the

alleged conduct altered the terms or conditions of her employment. Kulp

asserts that she received a provocative photograph and that coworkers

put grease on the handle of her truck. At the outset, we note that the

photograph incident took place prior to any of the alleged comments

Kulp’s supervisors made. Additionally, we cannot conclude that

coworkers putting grease on her truck handle alters the terms and

conditions of Kulp’s employment. As the Supreme Court has reiterated

“[a] recurring point in [our] opinions is that simple teasing, offhand

comments, and isolated incidents (unless extremely serious) will not

amount to discriminatory changes in the ‘terms and conditions of

employment.’” Clark County Sch. Dist. v. Breeden, 532 U.S. 268, 271

(2001) (quoting Faragher v. Boca Raton, 524 U.S. 775, 788 (1998)

(internal quotation marks and citations omitted)).

         Further, Kulp testified that she never felt physically or emotionally

unsafe during her employment and even used inappropriate language


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with her coworkers. This does not demonstrate a subjective perception of

an abusive environment. See e.g., Bonson v. Hanover Foods Corp., 451 F.

Supp. 3d 345, 356 (M.D. Pa. 2020) (finding that the plaintiff was

detrimentally affected because he sheltered himself while he was at work

to avoid harassment); Moody, 870 F.3d at 215 (finding that a reasonable

person would be detrimentally affected in an environment where a

supervisor expected his employee to give sexual favors in exchange for

work, touched the employee without consent, made sexual comments,

and exposed himself).

     Here, Kulp’s allegations regarding her coworkers’ actions, at best,

amount to isolated incidents of teasing, and further, have no logical

connection to the alleged discriminatory comments. Additionally, Kulp’s

testimony that she never felt physically or emotionally unsafe at work

belies her assertion that her work environment was abusive or hostile.

Accordingly, in our view, no reasonable juror could find that the alleged

discriminatory conduct rises to the necessary level of severe or pervasive

to establish a hostile work environment.

     We further conclude that Kulp cannot establish liability against

Norfolk Southern because she has not shown she was subjected to a


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tangible employment action. When the harassing employee is the victim’s

supervisor, the employer is strictly liable only if the supervisor’s conduct

rises to a tangible employment action. Vance v. Ball State Univ., 570 U.S.

421, 424 (2013). “A tangible employment action constitutes a significant

change in employment status, such as hiring, firing, failing to promote,

reassignment with significantly different responsibilities, or a decision

causing a significant change in benefits.” Burlington Indus. v. Ellerth,

524 U.S. 742, 761 (1998). However, if the supervisor did not take a

tangible employment action against the employee,

     [T]he employer may raise as an affirmative defense to liability
     the fact that it “exercised reasonable care to prevent and
     correct promptly any sexually harassing behavior . . . and that
     the plaintiff employee unreasonably failed to take advantage
     of any preventative or corrective opportunities provided by
     the employer or to avoid harm otherwise . . .”

Hitchens v. Montgomery County, 278 F. App’x 233, 236 (3d Cir. 2008)

(quoting Durham Life Ins. Co. v. Evans, 166 F.3d 139, 150 (3d Cir. 1999)

(internal citations and quotation marks omitted)). However, a plaintiff

need not show a tangible employment action occurred if the alleged

harasser is in such a position of authority that he “speaks for the

corporate employer.” O’Brien v. Middle E.F., 57 F. 4th 110, 119 (3d Cir.

2023).

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       To the extent that Kulp alleges Norfolk Southern is strictly liable

because her supervisors “speak for the corporate employer,” we disagree.

Kulp merely alleges that the individuals who made comments to her were

her supervisors. However, “merely serving as a supervisor with some

amount of control over a subordinate does not establish proxy status.”

O’Brien, 57 F.4th at 121. In fact, the Court of Appeals has explained that

“‘only individuals with exceptional authority and control within an

organization can meet’ this standard.” Id. (quoting Helm v. Kansas, 656

F.3d 1277, 1286 (10th Cir. 2011)). Here, Kulp has provided no evidence

establishing that these officials had such authority or control within

Norfolk Southern as to “speak for the corporate employer.” Accordingly,

Kulp must show that a tangible employment action was taken against

her.

       Kulp, for the first time in her opposition brief, asserts that she was

constructively discharged from Norfolk Southern. (Doc. 42 at 14) (“[O]ne

could reasonably conclude that Norfolk Southern constructively

discharged her.”). A plaintiff may show she was constructively discharged

by establishing “working conditions become so intolerable that a

reasonable person in the employee’s position would have felt compelled


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to resign.” Pennsylvania State Police v. Suders, 542 U.S. 129, 141 (2004).

A constructive discharge constitutes a tangible employment action “when

a supervisor’s official act precipitates the constructive discharge.”

Suders, 542 U.S. at 140-41.

     In this case, because we have concluded that Kulp failed to

establish that the alleged conduct was severe or pervasive enough to

establish a hostile work environment, we necessarily must conclude that

she has not shown that she was subjected to such intolerable working

conditions that would compel a reasonable person to resign. See Spencer

v. Wal-Mart Stores, Inc., 469 F.3d 311, 317 n.4 (3d Cir. 2006) (“To prove

constructive discharge, the plaintiff must demonstrate a greater severity

or pervasiveness of harassment than the minimum required to prove a

hostile working environment.”). Accordingly, Kulp cannot establish that

she was constructively discharged, and thus, suffered a tangible

employment action required to establish respondeat superior liability.

     Finally, even if we were to conclude that Kulp’s hostile work

environment claim should proceed, Norfolk Southern has established the

affirmative defense commonly known as the Faragher-Ellerth defense.

When the employer does not take a tangible employment action, the


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defendant may raise this affirmative defense. O’Brien, 57 F. 4th at 119.

Under this theory, an employer will not be held liable for a supervisor’s

alleged harassment if (1) the “employer exercised reasonable care to

prevent and correct promptly any sexually harassing behavior,” and (2)

the “plaintiff employee unreasonably failed to take advantage of any

preventive or corrective opportunities provided by the employer or to

avoid harm otherwise.” Burlington Indus., 524 U.S. at 765.

     One way that an employer can show it exercised reasonable care to

prevent and correct sexual harassment is a showing that it had an anti-

harassment policy with complaint procedure. Burlington Indus., 524 U.S.

at 765. Here, Norfolk Southern has established that it had such a

procedure. In fact, the record shows that Kulp used this procedure to

lodge complaints against her supervisors, and Norfolk Southern

investigated each of her complaints. Regarding the second element, the

record in this case shows that while Kulp lodged complaints with Norfolk

Southern’s EEO office, and the EEO office investigated her complaints,

Kulp ultimately did not return to work and refused to continue to

participate in the investigation.




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     Accordingly, we conclude that even if Kulp was successful in

establishing her hostile work environment claim, Norfolk Southern

would be entitled to the Faragher-Ellerth defense, and thus, would not

be liable for the actions of Kulp’s supervisors.

  IV.   Conclusion

     For the foregoing reasons, the defendant’s motion for summary

judgment (Doc. 39) will be granted.

     An appropriate order follows.



                                   s/ Daryl F. Bloom
                                   Daryl F. Bloom
                                   Chief United States Magistrate Judge




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